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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 EASTERN DIVISION

LARRY DONALD SCHULTE and                                                               PLAINTIFFS
MARY SCHULTE

v.                                   NO. 2:17CV00041 JLH

JAVIER VINA; and FE EXPRESS, LLC                                                    DEFENDANTS

                                             ORDER

       The Court was notified on January 5, 2018, that the parties had reached a settlement of this

matter. They were unable to submit a stipulation of dismissal because they were waiting to hear

from Medicare as to whether or not liens would be asserted. The Court has recently received a

report stating that the parties still have not heard from Medicare regarding possible lien amounts.

       The Court directs the Clerk to terminate this action administratively. If further litigation is

necessary or if the case needs to be re-opened in order to consummate the settlement, either party

may file a motion to re-open this case within twelve months from the date that it is closed.

       IT IS SO ORDERED this 30th day of July, 2018.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
